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                           UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF SOUTH CAROLINA


In re:                                                      Case No. 15-01974-dd
         KAREN LUCAS POOLE

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Pamela Simmons-Beasley, chapter 13 trustee, submits the following Final Report and
Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee
declares as follows:

         1) The case was filed on 04/10/2015.

         2) The plan was confirmed on 09/08/2015.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 05/16/2017.

         6) Number of months from filing to last payment: 25.

         7) Number of months case was pending: 27.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $42,010.00.

         10) Amount of unsecured claims discharged without payment: $31,234.56.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor              $16,840.00
       Less amount refunded to debtor                           $218.38

NET RECEIPTS:                                                                                  $16,621.62


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                $3,277.00
    Court Costs                                                              $0.00
    Trustee Expenses & Compensation                                      $1,165.19
    Other                                                                    $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                $4,442.19

Attorney fees paid and disclosed by debtor:                 $690.00


Scheduled Creditors:
Creditor                                      Claim         Claim            Claim       Principal       Int.
Name                                Class   Scheduled      Asserted         Allowed        Paid         Paid
COLUMBIA HEART CLINIC           Unsecured          25.00           NA              NA            0.00        0.00
CONSULTANTS IN GASTROENTOLOG    Unsecured      1,237.50            NA              NA            0.00        0.00
CREDIT PROTECTION ASSOCIATION   Unsecured         384.00           NA              NA            0.00        0.00
IC SYSTEM                       Unsecured         158.00           NA              NA            0.00        0.00
LEXINGTON MEDICAL CENTER        Unsecured      4,289.60            NA              NA            0.00        0.00
LEXINGTON RADIOLOGY             Unsecured         576.00           NA              NA            0.00        0.00
PATHOLOGY ASSOCIATES OF LEXIN   Unsecured          50.00           NA              NA            0.00        0.00
PORTFOLIO RECOVERY              Unsecured      2,788.45            NA              NA            0.00        0.00
RECEIVABLE SOLUTIONS            Unsecured      6,726.56            NA              NA            0.00        0.00
SC ENDOSCOPY CENTER             Unsecured         721.50           NA              NA            0.00        0.00
SCE&G                           Unsecured         844.00        444.79          444.79        444.79         0.00
SOUTH CAROLINA INTERNAL MEDIC   Unsecured         145.00           NA              NA            0.00        0.00
SOUTH STATE BANK                Unsecured            NA     14,132.95        14,132.95           0.00        0.00
SOUTH STATE BANK                Secured       44,256.00     25,000.00        25,000.00      7,294.97    2,060.71
TITLEMAX                        Unsecured            NA         745.35          745.35        745.35         0.00
TITLEMAX                        Secured        2,015.00       1,500.00        1,500.00      1,500.00      133.61




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00             $0.00
       Mortgage Arrearage                                     $0.00              $0.00             $0.00
       Debt Secured by Vehicle                            $1,500.00          $1,500.00           $133.61
       All Other Secured                                 $25,000.00          $7,294.97         $2,060.71
 TOTAL SECURED:                                          $26,500.00          $8,794.97         $2,194.32

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00             $0.00
        Domestic Support Ongoing                               $0.00              $0.00             $0.00
        All Other Priority                                     $0.00              $0.00             $0.00
 TOTAL PRIORITY:                                               $0.00              $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                             $15,323.09          $1,190.14              $0.00


Disbursements:

         Expenses of Administration                             $4,442.19
         Disbursements to Creditors                            $12,179.43

TOTAL DISBURSEMENTS :                                                                      $16,621.62


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 07/19/2017                             By:/s/ Pamela Simmons-Beasley
                                                                   Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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